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June 9, 2021
Via ECF
Hon. Christina Reiss
United States District Court
District of Vermont
P.O. Box 446
Burlington, Vermont 05402-0446
Re: Black Love Resists in the Rust, et al. v. City of Buffalo, et al., No. 18-CV-719 (W.D.N.Y.)
Dear Judge Reiss:
         Plaintiffs respectfully submit this reply letter on the redaction issue addressed in Plaintiffs’
letter to the Court of May 7, 2021 and Defendants’ response of June 4.
Defendants’ Relevance Arguments Are
As Wrong as They Are Misplaced
        Under the guise of “proportionality” analysis (Response at 1, 2nd ¶), Defendants assert
lack of relevance of the Compstat and GIVE documents as a whole. But Defendants have already
agreed to produce the documents (albeit they have reneged on a promise to produce them in re-
dacted form while the parties await the Court’s decision), and the effort required to do the redac-
tions—perhaps a day of work by a legal assistant—does not even make it into the ballpark for
proportionality analysis in a case such as this.
        In any event, this case is about far more than merely the specific “incident[s] identified in
the Amended Complaint” (Response at 1), or whether any of the social media or arrest information
involved any of the Named Plaintiffs (id. at 2). This putative class action1 involves Fourth Amend-
ment violations in the operation of the Checkpoint program as a whole and, more broadly, system-
atic racial discrimination in the way the BPD handled—and handles—traffic policing. That De-
fendants have chosen to ignore Paragraphs 60-118 of the Amended Complaint will not make those
allegations go away, and Plaintiffs are entitled to the discovery necessary to prove them.
        As set forth in Plaintiffs’ May 10 Status Report (ECF #91 at 7-8), a core issue in this case
is whether BPD’s “traffic safety” explanation for siting Checkpoints is a subterfuge. In direct sup-
port of the allegations in ¶¶ 60-79 of the Complaint, Exhibit 6 to the Status Report (ECF #91-6)
confirms the BPD’s statements in grant applications (see, e.g., ECF #66-23) that Checkpoint loca-
tions were driven, at least in part, by crime maps and crime data of the type in the Compstat and
GIVE reports. The crime data in those reports are also needed as input to statistical analyses of the
type undertaken in Floyd v. City of New York, 959 F. Supp. 2d 540, 580-82 (S.D.N.Y. 2013), to
show that race remains a significant driver both of Checkpoint location and overall ticketing even
controlling for crime. Accordingly, Defendants’ efforts to use “proportionality” to back-door rel-
evance arguments as to documents they have already agreed to produce is as wrong as it is mis-
placed.




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      Defendants’ discovery shenanigans have slowed the process of Plaintiffs’ gathering the information
      needed to move for class certification, but that process is underway.


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Defendants Have Not Responded at All With Respect to the
Social Media Photographs in the Compstat Reports
        Nothing in Defendants’ Response so much as mentions the social media photographs in
the Compstat reports. These are not “mugshots”; rather, ECAC trolls through the Facebook and
other social media accounts of Buffalo residents, downloads photos and other information it thinks
might  be of interest to the BPD, and presents the
    5-24-16- CPO M                               L
                                                   photosCin the Compstat
                                                                   C
                                                                          reports.
        Those photosK are overwhelmingly
                                 L              . W people. At least 95%—82
                                            of Black                    H       of 86—of the photos
        L               . W
in the social media sections of the reports supplied to the Court in camera are of Black people; two
are of Burmese, and at most two are of White. Tpeople.87Whether or not, as Plaintiffs
                                                                                 ,     believe, these
          , 12                     3                        .
photos by themselves create a jury issue that the BPD polices Black people differently than it does
Whites,  the D
    5-25-16- photos are plainly relevant
                                    L    to that
                                             , D core issue.
                                                        T    Defendants
                                                                  W     have
                                                                        P     said nothing
                                                                                     . W about the
social media photographs
                  E. F     becauseS there
                                       F  is nothing they can say.       32 R       .C
       B       ,C     S          CPO C    M                                                                   BMHA                      C         P
         The social media photographs should not be redacted.
       K .P                                                K                                                /L                           .P
Other Redactions Should Be Limited to PII                                                                                     .T
of Arrestees and Crime Victims                                                  H        L                                             .T                48
                                         ,2                         , 24                                    2                                                 .
        The remaining items at issue are GIVE Report gun arrest photos, personally identifying
information
    5-26-16- Hfor arrestees and crime victims, and details of arrests, including locations.
                                    S430                                             .O
                                                                E       CD                                                         P         H
        As set
            . T forth 63
                      in Tour original letter, the GIVE
                                                      , 7 report gun-arrest , 4photo
                                                                                C Oarrays are relevant for
                                                                                                        ,
the same
    10    reason  as the  Compstat
                              2     social  media  photos
                                                       .    are, but Plaintiffs  do not need any personally
identifying information of arrestees beyond those photos, and that PII can be redacted. This is not
a search for Dwitnesses but an effort to establish patterns and practicesBMHA
    5-27-16-                                                                    in BPD policing.
                                                                                         .W          E
       D                                 W        .O                                $251.00                                       .T             65
       For the same reason,
                       , 5 Plaintiffs do not
                                          , 13need
                                               C O PII of crime victims,
                                                                   , 27 and that information may
be redacted.               .
                    P       M             /BPD                              G        PM L         /BPD@B            P        D     ,M            P
        Plaintiffs do, however, need the locations
                                                Q and   other details
                                                     /BPD@B       P   of
                                                                      D arrests.
                                                                           ,D    EDocuments indicate
    5-28-16- H07/05/2016 09:09 PM                     /BPD@B     WP    DS . ,
that, at least in part, Checkpoint locations and
                                           .O A
                                                  patrol areas  tracked
                                                             /BPD@B
                                                                         crimes
                                                                         P    D
                                                                                 and arrests. Captain
Philip Serafini’s May 2016 Housing Statistical Report, for example,
                                                               .T        which 2went to the2 Commis-
sioner, DPC Lockwood,
                   .T        43and two Chiefs,  reported  for  May    29  as follows
                                                                                   3 C (Exhibit 1, at
                                                      F , 30
                                                           D       D                      O
COB016249):.
   L
       5-29-16- T,                                      M           D           H
   E                    C       S,       .O                                                   F     D               D        .I    .W
                    6 P.O.' 2L                       M 1130-1530
                                                         D       . ,D                        .I                                   1L                 ,
                     P.O. BMHA                    .B .T    38                                           :               ,3
       57                                     .
   DPC L                                                                D           D    .A
      ,
    5-30-16- T               D .I    M                    M      D D                                                     D
Two months later Captain Serafini told the Strike Force Lieutenants
                                                            .       that:
                       C    S F                  B         .W                                                                                    BMHA
  DPC L                 2                       .T     D40     D    ,                                                                       38
                 .
             12;00     .A                           ,
                                                     .F                     ,
   B5-31-16-/ O
              F             ,                                             L                                     .
                                     K              L               . CPO M
   A
Plaintiffs need theF locations
                         D        D. Tdetails56of arrests to explore the prevalence
                                 and                                        L, 3      and scope , 20of these
   D    .                                              F     D       D                  .I
                           1
practices, which are directly                        .
                             ( )relevant to the allegations. of (at least) ¶¶ 60-79, as set forth above.
                (                                           )                            .


   I                                                                                 .                                        COB016249
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        Defendants overstate the impact of the sealing provisions of (N.Y. Crim. Proc. Law
§§ 160.50(1)(c), (3)(i), 160.55. In the first place, of course, the provisions apply only where arrests
are involved—as they are in the GIVE reports but not in the Compstat reports. Moreover, Defend-
ants’ assertion that, if the records were sealed, “the Defendants would be legally prohibited from
producing these records” (ECF #97 at 3) is simply wrong. This is federal court, and Plaintiffs’
claims here are brought under federal law. The full quote from Haus v. City of New York2 is:
       As we have previously observed in this case, the state sealing statute does not
       govern here, since the plaintiffs are asserting federal claims. See Haus v. City of
       New York, 2006 WL 1148680, at *2 (S.D.N.Y. Apr. 24, 2006) (citing inter alia
       United States v. Goldberger & Dubin, P.C., 935 F.2d 501, 505 (2d Cir.1991)); see
       also Fed. R. Evid. 501; Von Bulow v. Von Bulow, 811 F.2d 136, 141 (2d Cir.1987),
       vacated on other grounds, 828 F.2d 94 (2d Cir.1987); Fountain v. City of New York,
       2004 WL 941242, at *5-6 (S.D.N.Y. May 3, 2004); Morrissey v. City of New York,
       171 F.R.D. 85, 92 (S.D.N.Y.1997). Nonetheless, federal courts should, in the spirit
       of comity, take into consideration the policy interests embodied in state privileges
       and related state laws limiting disclosure of confidential materials, at least to the
       extent that they can be reconciled with federal policy interests and the discovery
       needs of federal civil rights litigants. See, e.g., Cruz v. Kennedy, 1997 WL 839483,
       at *1 (S.D.N.Y. Dec. 19, 1997) (citing King v. Conde, 121 F.R.D. 180, 187
       (E.D.N.Y.1988)).
2006 WL 3375395 (S.D.N.Y Nov. 17, 2006) (emphasis added).
        In Haus, Judge Dolinger struck the balance by requiring production of the records them-
selves (not at issue here), with only the information specifically identifying the arrestees redacted.
That permitted plaintiffs there to satisfy their “stated need for the documents, which is to assist in
pursuing their class allegations about baseless arrests and their Monell theories,” id. The same
approach would resolve the redaction issues here: Plaintiffs’ need is for the photographs and for
the locations and details of the reported arrests; other PII may be redacted.
With PII Redacted, There Is No Need for
“Attorneys’ Eyes Only” Treatment
        Plaintiffs do not dispute that “attorneys’ eyes only” designation can play a role in resolving
close issues of confidentiality, but we respectfully submit that the issues here are not close. Cer-
tainly not as to the social media pages—that is content that is in the public domain, and Defendants
are not claiming law enforcement privilege—either for ECAC’s gathering and organizing of the
material or, for that matter, anything else in the documents (Response at 4). And with PII of ar-
restees and victims redacted, there is no reason to bar the Named Plaintiffs in this action from
having the information necessary to assist in the prosecution of their claims.
        The cases cited by Defendants do not support a different result. In both Floyd and Fowler,
the redacted documents ordered to be produced for “attorney’s eyes-only” also contained unre-
dacted information that the court had determined was itself sensitive and needed to be kept confi-
dential. See Floyd v. City of New York, 739 F. Supp. 2d 376, 383-86 (SDNY 2010) (files of ongoing

2
      Magistrate Judge Dolinger issued many discovery opinions in the long-running Haus litigation. De-
      fendants’ citation to one of the 2008 decisions (2009 WL 623344) is incorrect; the correct citation is
      the one in text here, which refers back to an earlier decision at 2006 WL 1148680.


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internal affairs investigations were covered by the law enforcement privilege even with redactions
of PII because “public disclosure of either the existence of an ongoing investigation or the specific
investigative steps taken or planned could possibly taint the inquiry or chill the accessibility and
candor of complainants and witnesses”); Fowler-Washington v. City of New York, 2020 WL
5893817, at *4 n.4 (E.D.N.Y. Oct. 5, 2020) (Ordering that “social security numbers, dates of birth,
home addresses, and the names of family members” be redacted from police officer personnel
records while other PII in these same records, including personal telephone numbers, emails and
medical information, “is restricted to attorney’s eyes only.”). In contrast, the documents at issue
here, with the redactions to which Plaintiffs have agreed, do not contain any such unredacted sen-
sitive information. Thus, an attorney’s-eyes only protective order is not warranted.3

                                               CONCLUSION

       For the reasons set forth herein in and in Plaintiffs’ May 7 letter, Plaintiff respectfully
submit that the Compstat and GIVE documents should be redacted only as to PII (but not photo-
graphs) of arrestees and PII of crime victims.

                                                  Respectfully submitted,

                                                  s/ Edward P. Krugman

                                                  Edward P. Krugman
                                                  Senior Attorney




3
      Plaintiffs also note that the “Attorneys’ eyes-only” confidentiality order covering the BPD Internal
      Affairs files previously produced in this litigation, ECF #54, was entered specifically to “effectuate
      the intent” of a New York State law that had generally protected police officer personnel records
      from public disclosure. See ECF #51 at 18-19; N.Y. Civil Rights Law § 50-a. However, because this
      law was fully repealed by the New York State Legislature in June 2020, see 2020 Sess. Law News
      of N.Y. Ch. 96 (S. 8496) § 1 (June 12, 2020), Plaintiffs intend to move to modify the confidentiality
      order to permit the Plaintiffs, and merely their attorneys, to view the internal affairs records. Defend-
      ants have indicated they are amenable to this change.


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                Exhibit 1
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                  P    M Se a      /BPD                          T     Aa   VY       /BPD@B        a P    ceDe ,
                  06/08/2016 06:07 PM                             cc
                                                                 bcc
                                                            S b ec     M       Sa      ca Re


C e,

T            eH            M            e          a I       e    a     ee d     e e           ,         e e
    a      c .


Re        ec      ,

Ca a           Se a


----- F        a ded b P       M Se a       /BPD         06/08/2016 06:06 PM -----


                                                    BUFFALO POLICE DEPARTMENT
                                                     HOUSING STATISTICS REPORT

Attn:                 Daniel Derenda, Police Commissioner
                      B ron Lock ood, Deput Commissioner
                      Kevin Brink orth, Housing Chief

Prepared B : Philip M Serafini

Date Prepared:06/01/2016

Report Dates:05/01/2016 to 05/31/2016


                      To al A e             fo Pe iod                                     To al A e            in B.M.H.A Loca ion

    Felon                               24                                       Felon                             21

    Misdemeanor                         72                                       Misdemeanor                       70

    Violation                           6                                        Violation                         5

    Traffic Misdemeanor                 256                                      Traffic Misdemeanor               253

             To al Ticke I ed Fo Pe iod                                              To al Ticke I             ed on B.M.H.A P ope
    Traffic Infraction    1537                                                   Traffic Infraction               1526

    Parking Tags                        483                                      Parking Tags                      481



                                                                                                                         COB016245
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Cit Ordinance             22                            Cit Ordinance               21

           To al Weapon Reco e ed                        To al Weapon Reco e ed on B.M.H.A. P ope

                        6                                                          1
Special concerns addressed/individuals contacted:

In addition to the above noted statistics generated b the Buffalo Police Housing Unit, a total of 67 vehicles
  ere impounded, 62 of hich ere from in and around BMHA properties. These vehicles ere impounded
for a variet of reasons, including but not limited to the follo ing: suspended license/ registration, DWI,
narcotics possession, driver anted on arrant, and eapons possession.

The Buffalo Police Housing Unit did also sei e a total of $1,526.00 from in and around the BMHA
properties. This mone as sei ed in relation to narcotics possession/ sales and as obtained subsequent to
arrest and b follo ing the United States Government guidelines for asset forfeiture.

The follo ing is a dail list of some of the actions performed b the Buffalo Police Housing Unit:

Please note that for the entire month of Ma , Housing officers have been predominatel assigned to the
Kenfield/ Langfield and Shaffer Village properties.

5-1-16- With limited manpo er e patrolled the big 6 Housing properties. Total of 27 traffic summonses
issued, 2 arrests ere made and 9 parking tags ere issued.

5-2-16- Conducted a traffic checkpoint at Rano /Cro le advising numerous drivers of traffic violations and
  riting 47 traffic summonses. DMV computers ere do n for a long period hich hampered our abilit to
  rite traffic summonses some hat. Ten parking tags ere issued, 5 vehicles impounded, and 9 arrests ere
made, 3 being felonies.

5-3-16- We received a complaint from the Langfield manager of possible trespassing at 132 Langfield, apt.
128. Housing officers responded and checked apartment hich appeared to be secure at this time. Tenant
  as evicted for non pa ment of rent. Officers covered on several shots fired calls in E District, and assisted
  ith a man shot in B District. Total of 45 traffic summonses issued, $993.00 confiscated from an arrest, 2
vehicles impounded, 17 parking tags issued, and 2 arrests ere made.

5-4-16- Officers ere alerted to 2 suspicious person inside a vacant Housing propert at 476 Perr . T o
arrests ere made and a large amount of needles confiscated. CPO Mac attended a recruiting session in the
Langfield/ Kenfield propert . Total of 44 traffic summonses issued, 17 parking tags ritten, 2 vehicles
impounded, and 6 arrests ere made.

5-5-16- In addition to conducting a traffic checkpoint in D District, e assisted BPD Narcotics and SWAT
on raids here 2 guns ere recovered. Total of 36 traffic summonses issued, 15 parking tags ritten, 2
vehicles impounded, and 2 arrests ere made.




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5-6-16- CPO Mac met ith the manger of the Marine Drive Housing propert regarding the upcoming
Canal Festival season. We impounded 2 vehicles on BMHA propert in response to tenant complaints.
Officers developed information that the person anted from a gun possession chase a fe eeks ago is
nicknamed KK. T o arrests ere made, 12 traffic summonses issued, and 3 vehicles ere impounded.

5-7-16- Housing officers assisted on a robber in D District. Suspect fled scene in a ta i and as later
apprehended b D District officer ith the assistance of our officers. Total of 19 traffic summonses ere
issued and 5 parking tag ritten.

5-8-16- Conducted a traffic checkpoint at Route 33 and Suffolk St. e it from 1645- 1800 hrs. Assisted B
District ith locating and impounding a vehicle at 309 Mulberr St. Vehicle as used in shooting. Total of
25 traffic summonses issued and 2 arrests ere made.

5-9-16- Ver little manpo er tonight but e ere still able to follo up on residential complaints about
illegal parking and abandoned vehicles on BMHA propert . Total of 14 traffic summonses issued, 3
vehicles impounded, 26 parking tags ritten, and 3 arrests ere made.

5-10-16- This tour as ver bus ith shots fired and shooting calls in C and D Districts so e moved all of
our patrols to the BMHA properties in those Districts. Total of 37 traffic summonses issued, 6 arrests ere
made, 19 parking tags ritten, and one vehicle as impounded.

5-11-16- Officers ere briefed on intel b CPO Mac hich he gained from a recent BMHA meeting in the
Langfield propert . This intel pertained to possible shooting suspects in the area and potential future
violence. We also follo ed up on another anted shooting suspect from the Jasper Parish Housing propert .
Later in the tour e received resident drug complaints from the Sedita propert and made an arrest. Total of
37 traffic summonses issued, 6 arrests ere made, 3 vehicles ere impounded and 2 parking tags ere
  ritten.

5-12-16- We received a complaint from the Shaffer Village manager about a tenant ho displa ed and
threatened a BMHA orker ith a knife. Officers responded to this complaint and made an arrest for
menacing. H410 as involved in a foot chase ith several suspicious males, hich resulted in an injur to
the officer. Total of 38 traffic summonses issued, 12 parking tags ritten, 3 vehicles impounded, and 3
arrests ere made.

5-13-16- A call came out at 0030 hrs in the Langfield area of shots fired. A Housing car as on scene and
there as no evidence of shots fired. Housing Drug Recognition officer (DRE) Agee assisted C District
  ith a 4 car accident at Baile / Lovejo . Total of 47 traffic summonses issued, 1 arrest and 10 parking tags
  ere ritten.

5-14-16- DPC B. Lock ood and Chief K. Brink orth instituted a dail Housing detail consisting of four
officers to run from 1130- 1530hrs. The detail ill concentrate on the Kenfield/ Langfield Housing
propert . There as a shots fired call in the Shaffer Village propert in hich the incident as captured b
the BMHA cameras. The shooter as identified as On Jones, and is still outstanding at this time. Total of
57 traffic summonses issued, 4 parking tags ritten and 2 vehicles ere impounded.




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5-15-16- Officers attempted to locate On Jones at 77 Halbert. Total of 73 traffic summonses issued, 1
arrest made, 19 parking tags ritten and 4 vehicles ere impounded.

5-16-16- During the Housing Detail hours H230 located and arrested anted felon suspect Akeem Corte .
During the regular tour e focused on D and E Districts. Total of 65 traffic summonses issued, 17 parking
tags ritten and 3 vehicles ere impounded.

5-17-16- Toda as our double up da . We conducted a traffic checkpoint in the Shaffer Village area
during the first half of the tour. Then e continued routine patrols and ans ered resident complaints in
Langfield about gang and drug activit . We also assisted C District on a shooting, located a anted person
for the BPD Se Offense Squad, and orked on complaints from tenants and manager of Shaffer Village
propert . Total of 65 traffic summonses issued, 8 arrests ere made, 15 parking tags ritten and 4 vehicles
  ere impounded.

5-18-16- Da time detail focused on the Kenfield/ Langfield and Douglass To ers/ Willert Park Housing
properties. A total of $282.00 in cash as confiscated from an arrest, 63 traffic summonses issued, 12
parking tags ritten, 6 vehicles ere impounded, and five arrests ere made, 2 of them being felonies.

5-19-16- Housing officers pulled up on a fight at 211 Niagara St. and recovered a loaded handgun and made
3 arrests. Officers discovered several 4 heelers and motorc cles driving on Isabelle St. in the Shaffer
Village Housing propert . The subsequentl confiscated one motorc cle and made one arrest. Suspect lives
at 83 Ma er. Total of 94 traffic summonses ere issued and 4 vehicles ere impounded.

5-20-16- Ver bus tour ith the da time detail concentrating on the Douglass To ers and Langfield
Housing properties. During the regular tour e assisted B District on a double shooting and D and E
Districts on several shots fired calls in the Shaffer Village and Donovan Drive properties. Late in the tour
H440 assisted in apprehending 2 individuals possessing a loaded .357 revolver and illegal narcotics. Total
of 91 traffic summonses issued, 6 arrests ere made, 3 parking tags ritten and 3 vehicles ere impounded.

5-21-16- During the detail hours e patrolled the Donovan Drive propert due to the previous da s shots
fired calls. We also e panded patrols to Jasper Parish and Shaffer Village after a large fight broke out in
Jasper. Additionall there as a robber / car shot up in Donovand Drive vicinit around 1:00PM hich e
also responded to. We also assisted on a large fight involving a couple hundred people at a carnival at MLK
park. Total of 68 traffic summonses issued, 25 parking tags ritten and 3 vehicles ere impounded.

5-22-16- Slo er tour toda . We patrolled the big 6 Housing properties and assisted C District on numerous
fight and gun calls relating to the carnival at MLK park. We also asssited on a homicide later in the tour.
Total of 57 traffic summonses issued, 30 parking tags ritten, 2 vehicles ere impounded and 2 arrests
  ere made.

5-23-16- During the detail hours e focused on drug complaints from the Langfield tenants and made an
arrest, recovering Heroin from one of the parking lots. We assisted on another stabbing and shooting during
the regular tour. Total of 42 traffic summonses issued, 8 parking tags ritten, 3 vehicles ere impounded
and 3 arrests ere made.




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5-24-16- CPO Mac attended t o meetings in the Langfield Communit Center and gained intel regarding
violence bet een Kenfield and Langfield people. We also learned of a ne Heroin problem starting up in
the Langfield propert . We ran a traffic checkpoint in this same area during our regular tour in order to
increase our presence and deter criminal activit . Total of 87 traffic summonses issued, one arrest as
made, 12 parking tags ritten and 3 vehicles ere impounded.

5-25-16- Da time detail focused on Langfield, Douglass To ers and Willert Park locations. We assisted on
a foot chase on E. Ferr ith the Strike Force and assisted ith a gun arrest at 32 Roehrer. Chief
Brink orth, Captain Serafini and CPO Craig Mac attended a meeting ith BMHA securit Chief Paul
Kihl. Paul rela ed important maps of criminal activit ithin the Kenfield/ Langfiels propert . Paul also
gave us a list of names of suspected individuals ho have a histor of criminal activit . This as ver
helpful and e rela ed all of this information to the Housing Lieutenants and their officers. Total of 48
traffic summonses issued, 2 arrests ere made, 24 parking tags ritten and 2 vehicles ere impounded.

5-26-16- Housing officers assisted S430 ith a traffic stop resulting in one gun recovered. Officers also
covered on violent and shots fired calls in E and C District along ith a violent call in the Perr Housing
propert . Total of 63 Traffic summonses ere issued, 7 arrests ere made, 4 Cit Ordinances ere ritten,
10 parking tag issued and 2 vehicles ere impounded.

5-27-16- During the detail hours e addressed qualit of life issues ithin BMHA areas. We assisted E
District on a shooting on Wholers. Officers confiscated $251.00 cash from a drug arrest. Total of 65 traffic
summonses ere issued, 5 arrests ere made, 13 Cit Ordinances ritten, 27 parking tags ere issued and
one vehicle as impounded.

5-28-16- Housing officers assisted on a foot chase originating from Warren St. here an arrest as
eventuall made and one gun as recovered. Officers also covered on a shots fired call involving a fleeing
vehicle and helped to recover the targeted vehicle and the suspects. This resulted in 2 arrests and 2 guns
being recovered. Total of 43 traffic summonses ere issued, 30 parking tags ritten and 3 Cit Ordinances
  ere issued.

5-29-16- This tour e focused on the Marine Drive Housing propert due to the previous tours violence and
gun arrest at Canal Side. Officers spent the earl part of their tour breaking up a fe fights. We also
conducted a traffic checkpoint in the Marine Drive area. During the second half of the tour e moved our
patrols to the other BMHA properties. Total of 38 traffic summonses ere ritten, 3 arrests ere made and
57 parking tags ere ritten.

5-30-16- Toda as Memorial Da and officers focused on the Marine Drive propert due to the large
number of people at the Canal Side Festival and the Bisons game. We also spent time at the other BMHA
locations assisting ith violent and shots fired calls. Total of 40 traffic summonses issued and 38 parking
tags ere ritten.

5-31-16- Officers continued to gather intel from the Langfield propert relating to the recent shootings and
gang activit bet een Kenfield and Langfield. CPO Mac has also set up a clean s eep project for the
follo ing tour based on his intel. Total of 56 traffic summonses ere issued, 3 arrests ere made, 20
parking tags ritten and 1 vehicle as impounded.



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 * For statistical purposes numbers attributed to B.M.H.A. propert are to be considered ithin
one half of one mile of B.M.H.A. propert




                                                                                      COB016251
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                 Exhibit 2
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             P     M             /BPD                            G          PM L    /BPD@B     P   D                            ,M      P
                                                                 Q       /BPD@B       P   D ,D     E
             07/05/2016 09:09 PM
                                                                          /BPD@B       P   D ,
                                                                 A               /BPD@B     P    D


                                                                         F           D            D


L            ,

E                        ,                                                                F           D               D   .I
             6 P.O.'         2L                           1130-1530      ,               .I                                    1L           ,
              P.O.                      .B                                                                :

DPC L                                                        D           D           .A
  ,                                         .I                                                                D           D
                                                                                              .

DPC L                             2                                              D                D           ,
                 12;00           .A                                          ,
                                                 .F              ,
B       /F          ,                                                                                             .

A                  F         D          D                                                                     L
D   .                                                                F           D                D                             .I
                                  ( )                                    .
         (                                            )                              .


I                                                                            .
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C




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